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   December 6, 2018



   The Honorable Pamela K. Chen
   U.S. District Judge
   U.S. District Court for the Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

   Re:    United States v. Salguero – Docket No. 15-cr-252 (PKC)

   Dear Judge Chen:

          We represent the Fédération Internationale de Football Association (“FIFA”) in
   connection with its request for restitution from Defendant Rafael Salguero at his sentencing
   hearing currently scheduled for December 6, 2018.

           Salguero, a former member of the FIFA Executive Committee and the FIFA Legal
   Committee from 2007 to 2015, was charged by the U.S. Department of Justice (“DOJ”) in a
   November 25, 2015 Superseding Indictment1 with (1) one count of racketeering conspiracy,
   (2) four counts of wire fraud, (3) two counts of conspiracy to commit wire fraud, (4) one count of
   money laundering, and (5) one count of conspiracy to commit money laundering, all in
   connection with the corruption of international soccer. As Salguero himself admitted, he
   enriched himself and harmed FIFA in the commission of his crimes, and FIFA suffered
   substantial losses as a result, including: (1) losses for salaries and benefits paid to Salguero
   during the period he was breaching his fiduciary duties to FIFA; and (2) legal fees petitioning the
   Court for restitution for the harm FIFA suffered.



   1
           The Superseding Indictment, United States v. Webb, et al., Dkt. 15-cr-252, ECF No. 102
   (E.D.N.Y. Nov. 25, 2015) (“Superseding Indictment”), was unsealed on December 3, 2015. See
   Press Release, Sixteen Additional FIFA Officials Indicted for Racketeering Conspiracy and
   Corruption,     U.S.     Dep’t      of   Justice      (Dec.      3,     2015),     available    at
   https://www.justice.gov/opa/pr/sixteen-additional-fifa-officials-indicted-racketeering-conspiracy-
   and-corruption.

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           On October 27, 2016, Salguero pleaded guilty to four charges listed in the Superseding
   Indictment: (1) the over-arching racketeering conspiracy with all other defendants;
   (2) conspiracy to commit wire fraud and money laundering in connection with accepting bribes
   from Media World to influence the award of media rights to the Guatemalan football federation’s
   (“FEDEFUTG”) FIFA World Cup qualifier matches; and (3) conspiracy to commit wire fraud in
   connection with accepting bribes from Full Play to influence the award of CONCACAF media
   rights.2 Salguero also admitted to participating in multiple additional schemes that constituted
   breaches of his fiduciary duties to FIFA, but which were not specifically charged as crimes in the
   Superseding Indictment.3

            As a victim of Salguero’s and his co-conspirators’ crimes, FIFA is entitled to recover
   restitution under the Mandatory Restitution to Victims Act, 18 U.S.C. § 3663A et seq.
   (“MRVA”). Specifically, FIFA should be awarded restitution for the vast sums that Salguero
   received as a member of the FIFA Executive and Legal Committees while purportedly providing
   honest services to FIFA, CONCACAF, and FEDEFUTG. Just between 2009 and 2015, the
   period during which Salguero admitted he was participating in the Full Play and Media World
   schemes and the over-arching criminal conspiracy, Salguero received over $4 million in salary
   and travel benefits from FIFA alone. According to Second Circuit case law and this Court’s
   prior decisions, FIFA should be awarded a portion of this amount in restitution to compensate it
   for the dishonest services Salguero provided during this period.

   I.     BACKGROUND

          During his career in international soccer, Salguero held positions of trust and authority
   with a number of organizations, including (1) member of the FIFA Executive Committee from
   2007 to May 2015; (2) member of the CONCACAF Executive Committee from 1986 to 2007,
   and a non-voting member of the same from 2007 to May 2015; (3) President of FEDEFUTG on
   two separate occasions from 1990-1991 and 2004-2005; (4) Deputy Chairman of the FIFA Legal
   Committee from 2007 to 2015; and (5) Chairman of the FIFA Organising Committee for the U-
   17 FIFA World Cup tournament.

           As a member of the FIFA Executive Committee and multiple FIFA standing committees,
   Salguero owed a fiduciary duty to FIFA both (1) as a member of a FIFA committee according to
   the FIFA Statutes and applicable FIFA rules and regulations, in particular the FIFA Code of
   Ethics,4 and (2) by virtue of Swiss statutory law governing his mandate agreement with FIFA.5


   2
         Transcript of Criminal Cause for Pleading at 24, Dkt. 15-cr-252, ECF No. 1126
   (E.D.N.Y. Oct. 27, 2016) (“Salguero Guilty Plea Transcript”).
   3
          See Salguero Guilty Plea Transcript at 29–33.
   4
            See FIFA Statutes, General Provisions (2012) (FIFA officials defined as “every board
   member [and] committee member in FIFA, a Confederation, Association, League or club”);
   FIFA Statutes § 7.1 (2012) (“Officials must observe the . . . Code of Ethics of FIFA in their
   activities.”).



                                                   2
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   Furthermore, as President of FEDEFUTG and then member of multiple CONCACAF standing
   committees, Salguero was subject to the FIFA Code of Ethics and thus owed a fiduciary duty to
   FIFA, the confederations, and the member associations.6

          Despite these obligations, Salguero breached these duties on numerous occasions, and he
   admitted during his plea hearing that he knew it was wrong of him to do so as he was committing
   these breaches.7 In pleading guilty, Salguero admitted to his role in the over-arching criminal
   conspiracy, including by agreeing to (1) receive at least $20,000 in bribes in 2009 and 2010 in
   exchange for steering FEDEFUTG’s 2018 FIFA World CupTM qualifying match media rights to
   Media World8; and (2) accept approximately $100,000 in bribes in late 2011 in exchange for
   influencing CONCACAF to sell media rights for CONCACAF tournaments to Full Play.9

          Salguero also admitted to additional breaches of his duties to FIFA that were not charged
   as separate crimes. In particular, as a FIFA official, Salguero was entitled to purchase a certain
   number of tickets to the 2006, 2010, and 2014 FIFA World Cup tournaments. However, as
   Salguero admitted he knew, FIFA regulations prohibited Salguero (or any other FIFA official)
   from reselling these tickets for personal gain. Salguero did so anyway, generating a profit of
   over $40,000 for himself.10

   II.    SALGUERO’S CONDUCT HARMED FIFA

           As the Superseding Indictment filed in this case stated, Salguero’s and his co-
   conspirators’ illegal schemes “deprived FIFA, the confederations, and their constituent
   organizations of their right to the honest and loyal services of the soccer officials involved.”11
   The Superseding Indictment went on to note the significant harm that FIFA had suffered as a
   result of Salguero’s and his co-conspirators’ actions, including by “limiting [FIFA’s] ability to
   operate effectively and carry out [its] core mission.”12 U.S. Attorney General Loretta Lynch also
   5
          See, e.g., Swiss Code of Obligations Art. 398 para. 2 (2016) (mandating that agents in
   Switzerland owe their principal the faithful and diligent performance of the work entrusted to
   them).
   6
           See FIFA Code of Ethics § 15 (2012) (“Persons bound by this Code shall have a fiduciary
   duty to FIFA, the confederations, associations, leagues and clubs.”).
   7
           See Salguero Guilty Plea Transcript at 33 (“I never disclosed any of these bribe payments
   or offers of bribe payments to FEDEFUTG, CONCACAF, FIFA or any other soccer governing
   body. I knew that it was not ok for me to ask for or accept such undisclosed payments, nor to
   help others accept such payments, or to agree with others that they or I would accept such
   payments.”).
   8
          See Salguero Guilty Plea Transcript at 26–28.
   9
          See Salguero Guilty Plea Transcript at 28–29.
   10
          See Salguero Guilty Plea Transcript at 33.
   11
          Superseding Indictment ¶ 97 (emphasis added).
   12
          Id.



                                                   3
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   publicly recognized that FIFA suffered harm at the hands of Salguero and his co-conspirators
   when she publicly noted that “this corruption essentially hurts . . . the organization [i.e., FIFA]
   itself.”13 Another DOJ official added that “certainly FIFA,” among others, “are victims in the
   case . . . . If there comes a point in time that victims such as those . . . can come before the court
   and apply for restitution, we’re certainly hopeful that those types of true victims . . . can get some
   of these forfeitures money that have been collected.”14

          A. Salguero Obtained Benefits From FIFA Under False Pretenses and FIFA Should
             be Awarded Restitution for the Benefits It Paid to Salguero

            As noted above, by virtue of his position as a FIFA official for many years, Salguero
   owed a fiduciary duty to FIFA, CONCACAF, and FEDEFUTG to act with integrity and not to
   abuse his position for personal gain.15 Despite these obligations, Salguero (1) accepted multiple
   bribes in connection with exercising his authority within FEDEFUTG and CONCACAF,
   (2) abused his right to purchase tickets to FIFA events for his own profit, and, even after the
   initial round of arrests of soccer officials in May 2015, (3) met with Fabio Tordin in September
   2015 in Miami, Florida to discuss bribe payments and how to plot Salguero’s return to the FIFA
   Executive Committee.16

           The FIFA Code of Ethics, which applied to Salguero as a FIFA official, includes specific
   provisions governing the conduct of FIFA officials, namely that, “Persons bound by this Code
   shall show commitment to an ethical attitude. They shall behave in a dignified manner and act
   with complete credibility and integrity.”17 Further, “Persons bound by this Code may not abuse
   their position in any way, especially to take advantage of their position for private aims or
   gains.”18

          Salguero repeatedly and grossly violated provisions of the FIFA Code of Ethics related to
   bribery and corruption, which state that FIFA officials must not “offer, promise, give or accept
   any personal or undue pecuniary or other advantage in order to obtain or retain business or any
   other improper advantage to or from anyone within or outside FIFA. Such acts are prohibited,
   regardless of whether carried out directly or indirectly through, or in conjunction with,

   13
           Press Conference, Attorney General Lynch on FIFA Arrests, U.S. Dep’t of Justice (Dec.
   3, 2015), available at http://www.c-span.org/video/?401555-1/attorney-general-loretta-lynch-
   fifa-arrests&start=2835.
   14
          Id.
   15
           See, e.g., FIFA Code of Ethics § 13.4 (2012) (“Persons bound by this Code shall . . . act
   with complete credibility and integrity.”); id. at § 13.5 (“Persons bound by this Code shall not
   abuse their position in any way, especially to take advantage of their position for private aims or
   gains.”).
   16
          See Superseding Indictment ¶ 317.
   17
          FIFA Code of Ethics § 13.3 (2012).
   18
          FIFA Code of Ethics § 13.4 (2012).



                                                     4
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   intermediaries or related parties as defined in this Code.”19 The bribes that Salguero took clearly
   and incontrovertibly violated these specific provisions, and Salguero admitted as much when he
   pleaded guilty to these charges.20

           Salguero was also under an obligation as a FIFA official to report suspected breaches of
   the FIFA Code of Ethics to the investigatory chamber of the FIFA Ethics Committee. 21 Salguero
   admitted that he directly participated in multiple significant breaches of the FIFA Code of Ethics,
   as well as was aware that other FIFA officials were participating in the same schemes, and yet he
   failed to report these breaches.22 Instead, as late as September 2015, Salguero was scheming as
   to how to return to the FIFA Executive Committee and continue enjoying the benefits thereof
   while in breach of his duties.23

           By depriving FIFA of his honest services, Salguero unfairly obtained money from FIFA
   in the form of salaries, daily per diems, and travel expenses for his time on the FIFA Executive
   Committee and when attending FIFA. Between January 2009 and May 2015,24 Salguero
   received a net total of $4,147,690.41 in benefits from FIFA, as described below in Figure 1.25




   19
           FIFA Code of Ethics § 21.1 (2012). Ms. Stephanie Maennl, a FIFA attorney, testified at
   the trial of Manuel Burga, José Maria Marin, and Juan Ángel Napout that the 2004, 2006, and
   2009 versions of the FIFA Code of Ethics also contained provisions (1) imposing a duty of
   loyalty on FIFA officials, and (2) prohibiting FIFA officials from accepting bribes or other
   undisclosed cash payments or gifts. See Trial Transcript at 149:25–153:19, United States v.
   Webb, et al., Dkt. 15-cr-252, ECF No. 102 (E.D.N.Y.).
   20
          See Salguero Guilty Plea Transcript at 33.
   21
           See FIFA Code of Ethics § 18 (2012) (“Persons bound by this Code shall immediately
   report any potential breach of this Code to the secretariat of the investigatory chamber of the
   Ethics Committee.”).
   22
           See Salguero Guilty Plea Transcript at 33 (“I never disclosed any of these bribe payments
   or offers of bribe payments to FEDEFUT, CONCACAF, FIFA or any other soccer governing
   body.”).
   23
          See Superseding Indictment ¶ 317.
   24
          According to Salguero, the Media World bribery scheme he participated in began in
   2009. See Salguero Guilty Plea Transcript at 26.
   25
           The expense reports that Salguero submitted to FIFA to secure payment of these benefits
   are attached hereto as Exhibit A.



                                                   5
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                                   Figure 1: FIFA Payments to Salguero
     Payment                                                                                         Amount of
                                               Reason for Payment
       Date                                                                                           Payment
                  Daily allowances and travelling expenses, and hotel transit for attendance at
   01/13/200926                                                                                      $32,661.00
                  Football Committee meeting in Zurich in January 2009
                  Daily allowances, travelling expenses, and hotel transit for attendance at Legal
    02/05/2009                                                                                       $32,661.36
                  Committee meeting in Zurich in February 2009
    03/01/2009    Salary for FIFA Executive Committee first semester 2009                            $50,000.00
                  Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    03/19/2009                                                                                       $33,395.66
                  Meeting Week in Zurich in March 2009
                  Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    05/30/2009                                                                                       $11,037.00
                  Congress in Nassau in May 2009
                  Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    06/22/2009                                                                                       $66,142.00
                  Confederations Cup in South Africa in June 2009
                  Daily allowances, travelling expenses, and hotel transit for attendance at
    09/28/2009                                                                                        $2,133.00
                  Commission Certificate Statute in Zurich in August 2009
                  Daily allowances, travelling expenses, and hotel transit for attendance at
    09/28/2009                                                                                        $4,013.00
                  Commission Certificate Statute in Zurich in July 2009
                  Daily allowances, travelling expenses, and hotel transit for attendance at
    09/28/2009                                                                                       $24,736.00
                  Executive Committee meeting in Rio de Janeiro in September 2009
    09/28/2009    Salary for FIFA Executive Committee second semester 2009                           $50,000.00
                  Daily allowances, travelling expenses, and hotel transit for attendance at Legal
    10/20/2009                                                                                       $37,395.00
                  Committee meeting in Zurich in October 2009
                  Daily allowances and travelling expenses for attendance at meeting with
    10/20/2009                                                                                        $2,089.00
                  Federacion in El Salvador in October 2009
                  Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    12/01/2009                                                                                       $55,675.00
                  Final Draw meeting in Zurich in October 2010
    12/04/2009    Bonus for FIFA Executive Committee 2009                                            $100,000.00
                  Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    12/21/2009                                                                                       $33,244.00
                  World Player Gala in Zurich in December 2009
                  Daily allowances, travelling expenses, hotel transit, and other expenses for
    02/08/2010    attendance at Football Committee and Legal Committee meetings in Zurich in         $42,010.00
                  February 2010
                  Additional daily allowances, travelling expenses, and hotel transit for
    02/17/2010    attendance at Football Committee and Legal Committee meetings in Zurich in          $5,040.00
                  February 2010
    03/01/2010    Salary for FIFA Executive Committee first semester 2010                            $50,000.00
                  Daily allowances, travelling expenses, hotel transit, and other expenses for
    03/17/2010                                                                                       $35,574.00
                  attendance at FIFA Executive Committee meeting in Zurich in March 2010
                  Daily allowances, travelling expenses, hotel transit, and other expenses for
    06/07/2010    attendance at 2010 FIFA World Cup South Africa and 60th FIFA Congress in           $96,361.00
                  Johannesburg in June 2010



   26
          The expense report itself appears to be misdated, as FIFA’s records show that it was
   submitted on January 13, 2009, and the report itself reflects that it was submitted in connection
   with Salguero’s attendance at a FIFA Football Committee meeting in January 2009.



                                                            6
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                 Daily allowances and travelling expenses for attendance at elecciones generales
    09/09/2010                                                                                        $2,560.00
                 in El Salvador in June 2010
                 Daily allowances, travelling expenses, and hotel transit for attendance at Legal
    09/09/2010                                                                                       $33,994.00
                 Committee meeting in Zurich in September 2010
                 Daily allowances and travelling expenses for attendance at FIFA U-17
    09/23/2010                                                                                        $5,350.00
                 Women’s World Cup in Trinidad and Tobago in September 2010
    10/01/2010   Salary for FIFA Executive Committee second semester 2010                            $50,000.00
                 Daily allowances, travelling expenses, and hotel transit for attendance at
    10/18/2010                                                                                       $32,895.00
                 Football Committee meeting in Zurich in October 2010
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    10/29/2010                                                                                       $35,495.00
                 Executive Committee meeting in Zurich in October 2010
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    11/19/2010                                                                                       $35,334.00
                 Executive Committee meeting in Zurich in November 2010
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    11/30/2010                                                                                       $35,494.00
                 Executive Committee meeting in Zurich in December 2010
    12/01/2010   Bonus for FIFA Executive Committee 2010                                             $200,000.00
                 Daily allowances, travelling expenses, hotel transit, and other expenses for
    01/10/2011                                                                                       $34,096.00
                 attendance at FIFA Ballon d’Or in Zurich in January 2011
                 Daily allowances, travelling expenses, and hotel transit for attendance at
    02/02/2011                                                                                       $33,245.00
                 Football Committee meeting in Zurich in February 2011
                 Daily allowances, travelling expenses, and hotel transit for attendance at Legal
    02/11/2011                                                                                       $32,545.00
                 Committee meeting in Zurich in February 2011
    02/28/2011   Salary for FIFA Executive Committee first semester 2011                             $50,000.00
                 Daily allowances, travelling expenses, and hotel transit for attendance at
    03/02/2011                                                                                       $35,494.00
                 Executive Committee meeting in Zurich in March 2011
                 Reimbursement for medical costs incurred during trophy presentation trip in
    05/31/2011                                                                                       $11,716.72
                 Salt Lake City, Utah in April 2011
                 Daily allowances, travelling expenses, and hotel transit for attendance at 61st
    05/31/2011                                                                                       $46,198.00
                 FIFA Congress in Zurich in May 2011
                 Daily allowances, travelling expenses, and hotel transit for representing FIFA at
    05/31/2011                                                                                        $3,287.00
                 the funeral of Mr. Sasso Sasso in March 2011
                 Daily allowances and hotel transit for visit to Central America with FIFA
    05/31/2011                                                                                        $4,000.00
                 President in April 2011
                 Daily allowances and travelling expenses for attendance at FIFA U-20 World
    07/27/2011                                                                                       $27,956.00
                 Cup in Colombia in July 2011
                 Daily allowances for visit to discuss the Football Federation of Belize situation
    08/12/2011                                                                                        $1,500.00
                 in Belize in July 2011
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    10/17/2011                                                                                       $35,895.60
                 Executive Committee in Zurich in October 2011
                 Daily allowances and travelling expenses for visit to Belize regarding the
    10/17/2011                                                                                        $2,709.00
                 Football Federation of Belize in September and October 2011
    10/17/2011   Salary for FIFA Executive Committee second semester 2011.                           $50,000.00
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    12/14/2011                                                                                       $59,566.00
                 Club World Cup in Japan in November 2011
                 Daily allowances and travelling expenses for Secretary General course and
    12/14/2011                                                                                        $4,185.00
                 Technical Association for CONCACAF in October 2011
    12/15/2011   Bonus for FIFA Executive Committee 2011                                             $200,000.00
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    01/09/2012                                                                                       $33,344.00
                 Ballon d’Or in Zurich in January 2012




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                 Daily allowances, travelling expenses, and hotel transit for attendance at
    02/14/2012   Organizing Committee for the FIFA U-17 World Cup meeting in Zurich in               $34,444.00
                 February 2012
    03/26/2012   Salary for FIFA Executive Committee first semester 2012                             $50,000.00
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    03/27/2012                                                                                       $37,444.00
                 Executive Committee meeting in Zurich in March 2012
                 Daily allowances, travelling expenses, and hotel transit for attendance at
    03/27/2012                                                                                       $38,214.00
                 International Football Association Board meeting in London in March 2012
                 Daily allowances, travelling expenses, and hotel transit for attendance at Bureau
    04/11/2012                                                                                       $33,344.48
                 of the Legal Committee meeting in Zurich in April 2012
                 Daily allowances, travelling expenses, and hotel transit for attendance at 62nd
    05/21/2012                                                                                       $54,538.00
                 FIFA Congress in Budapest in May 2012
                 Daily allowances, travelling expenses, and hotel transit for attendance at Bureau
    07/04/2012                                                                                       $35,944.00
                 of the Legal Committee meeting in Zurich in June 2012
                 Daily allowances, travelling expenses, and hotel transit for attendance at
    07/04/2012                                                                                       $34,444.00
                 International Football Advisory Board special meeting in Zurich in July 2012
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    07/17/2012                                                                                       $33,694.48
                 Executive Committee meeting in Zurich in July 2012.
                 Daily allowances, travelling expenses, and hotel transit for attendance at
    07/23/2012                                                                                       $36,642.00
                 Olympic Football Tournaments in London in July 2012
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    09/24/2012                                                                                       $35,934.00
                 Executive Committee meeting in Zurich in September 2012
    09/24/2012   Salary for FIFA Executive Committee second semester 2012                            $50,000.00
                 Daily allowances, travelling expenses, and hotel transit for attendance at Legal
    11/07/2012                                                                                       $71,628.40
                 Committee meeting in Zurich in November 2012
                 Daily allowances and travelling expenses for attendance at FIFA Club World
    12/11/2012                                                                                       $42,092.00
                 Cup in Japan in December 2012
    12/13/2012   Bonus for FIFA Executive Committee 2012                                             $200,000.00
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    01/07/2013   Ballon d’Or and Bureau of the Legal Committee meeting in Zurich in January          $39,534.00
                 2013
                 Daily allowances, travelling expenses, and hotel transit for attendance at
    02/13/2013   Organising Committee for the FIFA U-17 World Cup meeting in Zurich in               $39,534.00
                 February 2013
                 Daily allowances, travelling expenses, and hotel transit for attendance at Legal
    03/07/2013                                                                                       $39,752.00
                 Committee meeting in Zurich in March 2013
    03/18/2013   Salary for FIFA Executive Committee first semester 2013                             $50,000.00
                 Daily allowances, travelling expenses, and hotel transit for attendance at FIFA
    03/19/2013                                                                                       $41,252.00
                 Executive Committee meeting in Zurich in March 2013
                 Daily allowances, travelling expenses, and hotel transit for attendance at 63rd
    05/28/2013                                                                                       $43,560.00
                 FIFA Congress in Mauritius in May 2013
                 Daily allowances and travelling expenses for attendance at FIFA Confederation
    06/25/2013                                                                                       $30,368.00
                 Cup in Brazil in June 2013
    10/01/2013   Salary for FIFA Executive Committee second semester 2013                            $50,000.00
                 Daily allowances and travelling expenses for attendance at final draw for the
    10/02/2013                                                                                       $35,126.96
                 FIFA U-17 World Cup in the United Arab Emirates in August 2013
                 Daily allowances and travelling expenses for attendance at FIFA Executive
    10/02/2013                                                                                       $30,314.40
                 Committee meeting in Zurich in October 2013
                 Daily allowances and travelling expenses for attendance at FIFA U-17 World
    10/18/2013                                                                                       $51,628.00
                 Cup in United Arab Emirates in October 2013



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                 Daily allowances for attendance at final draw for the 2014 FIFA World Cup in
    12/02/2013                                                                                       $6,000.00
                 Brazil in December 2013
    12/06/2013   Salary for FIFA Executive Committee 201327                                         $200,000.00
                 Daily allowances and travelling expenses for attendance at Organising
    02/11/2014   Committee for the FIFA U-17 World Cup and Legal Committee meetings in              $35,286.00
                 Zurich in February 2014
                 Daily allowances and travelling expenses for attendance at FIFA Executive
    03/18/2014                                                                                      $35,286.94
                 Committee meeting in Zurich in March 2014
    03/20/2014   Salary for FIFA Executive Committee first semester 2014                            $150,000.00
                 Daily allowances and travelling expenses for attendance at Legal Committee
    04/29/2014                                                                                      $40,141.00
                 meeting in Zurich in April 2014
                 Daily allowances and travelling expenses for Chile Inspection in Chile in April
    06/19/2014                                                                                      $29,494.00
                 2014
    06/19/2014   Daily allowances for attendance at FIFA World Cup in Brazil in June 2014           $33,000.00
                 Daily allowances and travelling expenses for attendance at Executive
    09/22/2014                                                                                      $41,707.28
                 Committee meeting in Zurich in September 2014
    09/22/2014   Salary for FIFA Executive Committee second semester 2014                           $150,000.00
                 Daily allowances and travelling expenses for attendance at FIFA Club World
    12/14/2014                                                                                      $25,386.00
                 Cup in Morocco in December 2014
                 Daily allowances and travelling expenses for Chile Inspection in Chile in
    12/14/2014                                                                                      $30,154.00
                 October 2014
    12/14/2014   Daily allowances for trip with the FIFA President in November 2014                  $1,500.00
                 Daily allowances and travelling expenses for attendance at FIFA Ballon d’Or in
    01/12/2015                                                                                      $38,644.00
                 Zurich in January 2015
                 Daily allowances and travelling expenses for attendance at Organising
    02/09/2015                                                                                      $39,958.44
                 Committee for the FIFA U-17 World Cup meeting in Zurich in February 2015
    03/16/2015   Salary for FIFA Executive Committee first semester 2015.                           $150,000.00
                 Daily allowances and travelling expenses for attendance at FIFA Executive
    03/17/2015                                                                                      $41,092.00
                 Committee meeting in Zurich in March 2015
                 Daily allowances and travelling expenses for attendance at 65th FIFA Congress
    05/25/2015                                                                                      $35,704.00
                 in Zurich in May 2015
    08/10/2017   Reimbursement to FIFA of funds recovered from Salguero’s prepaid VISA card         -$36,122.31

                 TOTAL:                                                                            $4,147,690.41


           Salguero was not entitled to those payments because he did not give FIFA the full value
   of his honest services in return. FIFA is therefore entitled to restitution for the benefits paid to
   Salguero, even benefits that are not salaries. See, e.g., United States v. Donaghy, 570 F. Supp.
   2d 411, 429 (E.D.N.Y. 2008) (rejecting defendants’ argument that restitution should be limited to
   salary only and holding, “to the same extent that the NBA suffered loss in the form of salary
   payments for dishonest services, so too did it suffer loss when it paid Donaghy’s expenses for
   traveling to games at which he did not perform his services honestly”), aff’d sub nom. United

   27
          Though the invoice states that the payment is for “salary” for 2013, it appears that this is
   a mistake and it should read “bonus” for 2013.



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 States v. Battista, 575 F.3d 226 (2d Cir. 2009); United States v. Fiorentino, 149 F. Supp. 3d
 1352, 1360 (S.D. Fla. 2016) (rejecting defendants’ argument that restitution should only be
 awarded for defendants’ “base pay and benefits” and instead awarding restitution based on all
 benefits paid to defendants on theory that “Systemax paid all compensation on the understanding
 that Defendants would provide wholly honest services to the company”); see also United States
 v. Skowron, 839 F. Supp. 2d 740, 745 (S.D.N.Y. 2012) (awarding an employer partial return of
 compensation paid to employee convicted of an insider trading scheme because the “offenses of
 conviction directly and proximately harmed [the employer] . . . . [The] crimes deprived [the
 employer] of the honest services of its employee, diverted valuable corporate time and energy in
 the defense of [the employee and the employer], and injured [the employer’s] reputation.”), aff’d,
 529 F. App’x 71 (2d Cir. 2013).

         Here, Salguero was a FIFA official, including at one time a member of its highest
 executive body, for almost 30 years. Despite his obligations to FIFA and international soccer
 under the FIFA regulations, including the FIFA Code of Ethics, and applicable Swiss statutory
 law, Salguero participated in an unprecedented campaign of corruption, the exposure of which
 shook the sport to its core. In addition to the central offense of agreeing to accept hundreds of
 thousands of dollars in bribes to improperly steer marketing and media rights contracts to
 favored companies, Salguero (1) created sham invoices to facilitate the international transfer of
 the bribes he received28; and (2) schemed in September 2015 as to how to return to the FIFA
 Executive Committee, after many of his co-conspirators were indicted or arrested.29

          In substantially similar circumstances involving Salguero’s convicted co-conspirators
 José Maria Marin and Juan Ángel Napout, this Court awarded victims restitution in the amount
 of 20% of the salaries and benefits paid to the defendants. See Restitution Order at 6, 24, United
 States v. Napout, et al., Dkt. 15-cr-252-PKC, ECF No. 1084 (E.D.N.Y. Nov. 20, 2011)
 (hereinafter, the “November 20 Restitution Order”) (awarding both CONMEBOL and FIFA
 restitution in the amount of 20% of the salaries and benefits paid to Marin and Napout).
 Therefore, FIFA respectfully requests that it be awarded $829,538.08 in restitution, representing
 20% of the benefits it paid to Salguero during the period he was breaching his fiduciary duties to
 FIFA.

        B.      FIFA Incurred Costs Participating in the Calculation of Salguero’s
                Restitution Obligation

          As a victim of Salguero’s and his co-conspirators’ criminal misconduct, FIFA is entitled
 to restitution for the legal fees it incurred in participating in the restitution portion of Salguero’s
 sentencing. This Court has recognized that fees incurred by a victim to participate in the
 restitution process were “necessary to [the victim’s] attendance at the post-verdict restitution
 proceeding, . . . thus making them recoverable under the MVRA.” November 20 Restitution
 Order at 8–9 (internal quotation marks and brackets removed).


 28
        See Salguero Guilty Plea Transcript at 26–29; Superseding Indictment ¶ 265.
 29
        See Superseding Indictment ¶ 317.



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        To date, FIFA has incurred CHF 9,352.1330 in legal fees in connection with participating
 in the restitution portion of Salguero’s sentencing, including the preparation of this letter.31
 Should additional work be required, including the preparation of additional submissions or
 attendance at hearings, FIFA respectfully requests that it be allowed to submit additional
 evidence of the legal fees it incurred.


                                          *      *      *

          In conclusion, as a victim of Rafael Salguero’s criminal conduct, FIFA respectfully
 requests restitution for the harms Salguero caused FIFA, including the benefits Salguero
 wrongfully induced FIFA to pay to him and the legal fees FIFA incurred participating in the
 restitution process. Further information and supporting documentation is available upon request,
 and we are available to discuss any of the above-raised issues. Restitution is appropriate and
 should be awarded for:

               (a)     20% of the salary and benefits FIFA paid to Salguero, or $829,538.08; and

               (b)     FIFA’s legal fees incurred during its participation in the restitution portion
                       of Salguero’s sentencing, totaling CHF 9,352.13 to date.

 Very truly yours,
 Quinn Emanuel Urquhart & Sullivan LLP



 William A. Burck
 Thomas Werlen
 Stephen M. Hauss

 Attorneys for Fédération Internationale de Football Association

 CC: All counsel of record (via ECF)




 30
        The exchange rate between the Swiss Franc and the U.S. dollar as of December 5, 2018
 was approximately 1:1.0022. See https://www.xe.com/currencytables/?from=CHF&date=2018-
 12-05.
 31
         Attached as Exhibit B is the Declaration of William A. Burck in Support of FIFA’s
 Request for Restitution from Rafael Salguero (the “Burck Declaration”), which further describes
 the fees FIFA incurred. Attached as Exhibit C is a spreadsheet of Quinn Emanuel’s legal fees for
 which FIFA is requesting restitution. Additional information regarding the spreadsheet is
 provided in the Burck Declaration.



                                                 11
